
95 N.Y.2d 917 (2000)
GIUSEPPE GUGLIOTTA, Appellant, et al., Plaintiff,
v.
APOLLO ROLAND BROKERAGE, INC., et al., Respondents, et al., Defendants.
Court of Appeals of the State of New York.
Submitted October 10, 2000.
Decided November 21, 2000.
Motion, insofar as it seeks leave to appeal as against defendant Thomas Lovetere, sued herein as Thomas Loveter, dismissed upon the ground that the Appellate Division order sought to be appealed from does not finally determine the action with respect to that defendant within the meaning of the Constitution; motion, insofar as it seeks leave to appeal as against defendant Apollo Raland Brokerage, Inc., sued herein as Apollo Roland Brokerage, Inc., granted.
